                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE WESTERN DISTRICT OF VIRGINIA
                                    Roanoke Division

  BURRELL A. McGHEE,

                             Plaintiff

  v.                                              Case No. 7:13-CV-00123

  UNITED STATES OF AMERICA, et. al.,

                             Defendants.


   MOTION FOR VOLUNTARY DISMISSAL AS TO DEFENDANTS JAMES MOITOZA,
                   M.D. AND LOCUMTENENS.COM, LLC

         COMES NOW the Plaintiff, through counsel, and requests this Court to enter the Agreed

  Dismissal Order attached hereto as Exhibit A, dismissing the Plaintiff’s claims against

  Defendants James Moitoza, M.D. and LocumTenens.com, LLC with prejudice pursuant to

  Federal Rule of Civil Procedure 41(a)(2) as this matter has now been resolved as to these two

  defendants. As evidenced by their signatures on the draft order, counsel for all parties in this

  matter have conferred and have agreed upon the language of the same.

                                                        Respectfully submitted,

                                                        BURRELL A. McGHEE

                                                        By:    /s Carrol M. Ching
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 12th day of November, 2014, I electronically filed the

  foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

  such filing to:

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                                 Thomas L. Eckert
                                 United States Attorney’s Office
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                                                  /s Carrol M. Ching




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